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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

NATIONAL PARKS CONSERVATION                )
ASSOCIATION,                               )
                                           )
      Plaintiff,                           )
                                           )
             v.                            )                Civil Action No. 1:17-cv-01361-RCL
                                           )
TODD T. SEMONITE, Lieutenant General, U.S. )
Army Corps of Engineers and DR. MARK T.    )
ESPER, 1 Secretary of the Army,            )
                                           )
      Defendants,                          )
                                           )
VIRGINIA ELECTRIC & POWER COMPANY          )
                                           )
      Defendant-Intervenor.                )
                                           )
                                           )
NATIONAL TRUST FOR HISTORIC                )
PRESERVATION IN THE UNITED STATES          )
and ASSOCIATION FOR THE PRESERVATION )
OF VIRGINIA ANTIQUITIES,                   )
                                           )
      Plaintiffs,                          )
                                           )               Civil Action No. 1:17-cv-01574-RCL
             v.                            )
                                           )
TODD T. SEMONITE, Lieutenant General, U.S  )
Army Corps of Engineers and RYAN D.        )
MCCARTHY,                                  )
                                           )
      Defendants,                          )
                                           )
VIRGINIA ELECTRIC & POWER COMPANY          )
                                           )
      Defendant-Intervenor.                )
                                           )

              UPDATED STATUS REPORT ON TOWER CONSTRUCTION



1
 Pursuant to Fed. R. Civ. P. 25(d), Dr. Mark T. Esper, the current Secretary of the United States
Army, is automatically substituted for former Acting Secretary of the Army Ryan D. McCarthy.
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        In prior submissions to the Court, Defendant-Intervenor Virginia Electric & Power Co.

(“Dominion”) stated that it anticipated the construction and erection of steel towers on top of the

foundations located in the James River would not begin until May 15, 2018, at the earliest. See

ECF No. 83 at 2, Civil No. 17-cv-01361-RCL. Dominion provides this update to the status of

construction.

        Tidal conditions in the James River have caused unforeseen changes in the construction

techniques required. Consequently, construction and erection of steel towers on top of the

foundations in the river will not begin until July 1, 2018, at the earliest.


Dated: May 10, 2018                     Respectfully submitted,


                                         /s/ Harry M. Johnson, III
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                                        Dominion Energy




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